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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


 KIMBERLY DYER,
                      Plaintiff,                      CIVIL ACTION FILE
 vs.                                                  NO. 1:14-cv-03426-ELR
 KNOWLEDGE UNIVERSE EDUCATION
 LLC, doing business as
 KinderCare Learning Centers,
                      Defendant.


                                     JUDGMENT

       This action having come before the court, Honorable Eleanor L. Ross, United
States District Judge, for consideration of Plaintiff's Motion for Attorney Fees, and the
court having granted said motion, it is
       Ordered and adjudged that plaintiff recover from Knowledge Universe
Education LLC $51,462.00 as reasonable attorney's fees.
       Dated at Atlanta, Georgia this 18th day of June, 2015.

                                                 JAMES N. HATTEN
                                                 CLERK OF COURT and
                                                 DISTRICT COURT EXECUTIVE


                                            By: s/Barbara D. Boyle
                                                Deputy Clerk
Prepared, filed, and entered
in the Clerk's Office
    June 18, 2015
James N. Hatten
Clerk of Court


By: B.D. Boyle
      Deputy Clerk
